                  CASE 0:04-cr-00269-MJD-AJB                      Doc. 93-2        Filed 04/09/08             Page 1 of 1
2AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                            District
                                                      __________     of Minnesota
                                                                 District of __________

                    United States of America                          )
                               v.                                     )
                     Carl Marquis Maddox                              )   Case No: 04-cr-269(4)
                                                                      )   USM No: 11766-041
Date of Previous Judgment:                     11/21/2005             )   pro se
(Use Date of Last Amended Judgment if Applicable)                     )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
       u
                    the last judgment issued) of            months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    29                Amended Offense Level:                                              27
Criminal History Category: III               Criminal History Category:                                          III
Previous Guideline Range:  120 to 135 months Amended Guideline Range:                                            120      to 120 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
u The reduced sentence is within the amended guideline range.
u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
✔ Other (explain):
u
     Because the Court concludes it would have given Defendant the same 120-month sentence under the amended
     Guideline range, Defendant's motion is denied. See III. Additional Comments.



III. ADDITIONAL COMMENTS
     Defendant was sentenced to the statutory mandatory minimum sentence. The reduced Guideline range does not
     affect the statutory mandatory minimum. Therefore, the reduction in Defendant's offense level does not permit the
     Court to sentence Defendant below his original 120-month sentence. United States v. Marshall, 95 F.3d 700, 701
     (8th Cir. 1996).

Except as provided above, all provisions of the judgment dated               11/21/2005      shall remain in effect.
IT IS SO ORDERED.

Order Date:                 04/08/2008                                                      s / Michael J. Davis
                                                                                                   Judge’s signature


Effective Date:                                                              Judge Michael J. Davis, United States District Court
                     (if different from order date)                                              Printed name and title
